Case 2:18-cv-12247-SFC-DRG ECF No. 31 filed 11/08/18           PageID.1004   Page 1 of 3



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

TROY KARPOVICH, as guardian of
MICHAEL R. KARPOVICH, a legally-
incapacitated person,

             Plaintiff,                          Case No. 2:18-cv-12247-SFC-DRG

                                                 Honorable Sean F. Cox

v.

CITY OF DETROIT, a municipal corporation,
JAMES E. CRAIG, in his official capacity,
DETROIT BOARD OF POLICE COMMISSIONERS,
TIMOTHY L. LEACH, FREDERICK E.
PERSON, DETROIT POLICE OFFICERS
JOHN DOES 1 – 5, in their individual and
official capacities, TIMOTHY L. LEACH
d/b/a T. LEACH ENTERPRISE, and
EIGHTH STREET VENTURES, LLC,
d/b/a Ottava Via,

               Defendants.
___________________________________________/
 JENNIFER G. DAMICO P-51403             MICHAEL T. RYAN P-53634
 HOLLAND C. LOCKLEAR P-82236            CLIFFORD G. PREBAY P-59444
 MIKE MORSE LAW FIRM                    MERRY, FARNEN & RYAN, P.C.
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                                        PAGE 1
Case 2:18-cv-12247-SFC-DRG ECF No. 31 filed 11/08/18                PageID.1005      Page 2 of 3




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 JOHN J. GILLOOLY P-41948               TIMOTHY L. LEACH
 JOHN E. MCSORLEY P-17557               ProSe for Timothy L. Leach dba T. Leach
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___________________________________________/

        STIPULATION AND ORDER FOR DISCOVERY PRIOR TO RULE 26(f)
                       SCHEDULING CONFERENCE


       Plaintiff and Defendants stipulate and agree to engage in the following limited discovery,

prior to the Court’s Rule 26(f) Scheduling Conference:

       1.      Each party may serve up to 40 interrogatories;

       2.      Each party may serve up to 30 requests for admissions;

       3.      Each party may serve up to 20 requests for production of documents and tangible
               things;

       The parties further stipulate and agree that Defendant Person is exempted from

participating in limited discovery prior to the Rule 26(f) Scheduling Conference.




                                              PAGE 2
Case 2:18-cv-12247-SFC-DRG ECF No. 31 filed 11/08/18                PageID.1006     Page 3 of 3




By: /s/ Jennifer G. Damico                          By: /s/ Clifford G. Prebay
JENNIFER G. DAMICO P51403                           CLIFFORD G. PREBAY P59444
Mike Morse Law Firm, PLLC                           Merry, Farnen & Ryan, PC
Attorney for Plaintiff                              Attorney for Defendant Eighth Street
                                                    Ventures, LLC dba Ottava Via

Dated: November 1, 2018                             Dated: November 1, 2018


By: /s/ Scott L. Feuer                     By: /s/ Edward V. Keelean
SCOTT L. FEUER P38185                              EDWARD V. KEELEAN P29131
Attorney for Defendant                             City of Detroit Law Department
Frederick E. Person                                Attorney for Defendants, City of
                                                   Detroit, BOPC, and James E. Craig

Dated: November 1, 2018                             Dated: November 1, 2018


By: /s/ John J. Gillooly
JOHN J. GILLOOLY P41948
GARAN LUCOW MILLER, P.C.
Attorneys for Defendant Timothy L. Leach

Dated: November 1, 2018


By: /s/ Timothy L. Leach
TIMOTHY L. LEACH
In pro se for Timothy L. Leach
dba T. Leach Enterprise

Dated: November 1, 2018


       IT IS SO ORDERED.

Dated: November 8, 2018                             s/Sean F. Cox
                                                    Sean F. Cox
                                                    U. S. District Judge




                                           PAGE 3
